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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF PUERTO RICO



 UNITED STATES OF AMERICA,
      Plaintiff

        v.                                                Criminal No. 08-175 (ADC)

 [2] LUIS A. TORRES-RUIZ ,
        Defendant.



               ORDER ADOPTING REPORT AND RECOMMENDATION

       Before the Court is an unopposed Report and Recommendation issued by Justo Arenas,

Chief U.S. Magistrate Judge on November 6, 2008. (Docket No. 373). In said Report and

Recommendation the Chief Magistrate-Judge recommends that: defendant José A. Irizarry-

Torres be adjudged guilty of the offenses charged in Count One (21 U.S.C. §§ 846, 841(a)(1) and

860) inasmuch as, his plea of guilty was intelligently, knowingly and voluntarily entered.

       Neither party has filed objections to the Chief Magistrate-Judge’s Report and

Recommendation within the time frame provided by the Federal Rules of Criminal Procedure

and this Court’s Local Rules. See Fed. R. Crim. P. 11; 28 U.S.C. § 636(b)(1)(B); D.P.R. Local

Crim. R. 147(b).

       After reviewing the record, the Court agrees with the arguments, factual and legal

conclusions within the Report and Recommendation. Therefore, the Court hereby APPROVES

and ADOPTS the Chief Magistrate-Judge’s Report and Recommendation in its entirety.
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       Accordingly, a judgment of conviction is to be entered as to Count One of the indictment

in the above-captioned case.

       The sentencing hearing is set for March 3, 2009 at 10:30 a.m.

       IT IS SO ORDERED.

       At San Juan, Puerto Rico, this 21st day of November, 2008.



                                                 S/AIDA M. DELGADO-COLON
                                                 United States District Judge
